          Case 5:17-cv-00994-DAE Document 1 Filed 10/05/17 Page 1 of 29



                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

JOSE VEGA AND OCIEL VEGA,                        §
     Plaintiffs                                  §
                                                 §
                                                 §
v.                                               §       Civil Action No. 5:17-cv-994
                                                 §
SAFECO INSURANCE COMPANY                         §
OF INDIANA     ,                                 §
     Defendant                                   §


                             INDEX OF MATTERS BEING FILED


Safeco Insurance Company of Indiana’s Notice of Removal.

     Exhibit A:   Copies of all process, pleadings, orders and the docket sheet on file in the state
                  court lawsuit.

     Exhibit B:   A list of counsel of record.
            Case 5:17-cv-00994-DAE Document 1 Filed 10/05/17 Page 2 of 29



                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JOSE VEGA AND OCIEL VEGA,                       §
     Plaintiffs                                 §
                                                §
                                                §
v.                                              §      Civil Action No.
                                                §
SAFECO INSURANCE COMPANY                        §
OF INDIANA     ,                                §
     Defendant                                  §


     SAFECO INSURANCE COMPANY OF INDIANA’S NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Safeco Insurance Company of Indiana (“Safeco”) files this Notice of Removal pursuant

to 28 U.S.C. §1446(a) and respectfully shows the following:

                                    Procedural Background

       1.       On August 11, 2017, Plaintiffs Jose and Ociel Vega filed their Original Petition

(“Original Petition”) styled Cause No. 2017CI14866; Jose Vega and Ociel Vega vs. Safeco

Insurance Company of Indiana, In the 45th District Court of Bexar County, Texas. Safeco was

served with citation on September 9, 2017.

                                       Nature of the Suit

       2.       This lawsuit involves a dispute over Safeco’s handling of Plaintiffs’ insurance

claim for damages from a wind/hail storm allegedly sustained by their residential property: 2409

Roseville St., San Antonio, Texas.       Plaintiffs assert causes of action against Safeco for

negligence, breach the insurance contract, breach of the duty of good faith and fair dealing,

violations of the Texas Insurance Code, fraud, and conspiracy.
             Case 5:17-cv-00994-DAE Document 1 Filed 10/05/17 Page 3 of 29



                                               Basis for Removal

        3.       Removal is proper under 28 U.S.C. §1332 because there is complete diversity of

citizenship between the proper parties to the suit and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs.

        4.       There is complete diversity of citizenship between the parties.                     At the time

Plaintiffs filed their Original Petition in District Court on August 11, 2017 and as of the date of

filing this Notice, Safeco was and is a company organized under the laws of the State of Indiana

with its principal place of business at 175 Berkeley Street, Boston, Massachusetts.. Accordingly,

at the time Plaintiffs initially filed this suit, and through the filing of this Notice, Defendant

Safeco is not a citizen of the State of Texas for diversity jurisdiction purposes. 1

        5.       Upon information and belief, Plaintiffs were a citizen of Texas when their Petition

was filed, and continue to be a citizen of Texas.

        6.       Further, this Court has diversity jurisdiction over this matter because the amount

in controversy exceeds $75,000.00, exclusive of interest and costs. In determining the amount in

controversy, the court may consider “policy limits and potential attorney’s fees, ... penalties,

statutory damages, and punitive damages.” 2 Here, Plaintiffs claim that a wind/hail storm caused



1
  See Royal Ins. Co. of America v. Quinn-L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993), cert. denied, 114 S. Ct.
1541 (1994) (defining “Lloyds’ Plan” insurer). See, e.g. Garza v. State Farm Lloyds, 2013 WL 3439851, at *2 (S.D.
Tex. July 8, 2013) (“Therefore, the Court finds that State Farm has sufficiently demonstrated by a preponderance of
the evidence that its underwriters are not citizens of Texas. This means State Farm and the Plaintiffs are completely
diverse.”)
2
   St. Paul Reinsurance Co., Ltd v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998); see Ray v. State Farm Lloyds,
1999 WL 151667 (N.D. Tex. Mar. 10, 1999) at *2-3 (finding a sufficient amount in controversy in Plaintiffs’ case
against their insurance company for breach of contract, fraud, negligence, gross negligence, bad faith, violations of
the Texas Insurance Code, violations of the Texas Deceptive Trade Practices Act, and mental anguish); Fairmont
Travel, Inc. v. George S. May Int’l Co., et. al., 75 F. Supp. 2d 666, 668 (S.D. Tex. 1999) (considering DTPA claims
and the potential for recovery of punitive damages for the amount in controversy determination); Chittick v. Farmers
Insurance Exchange, 844 F. Supp. 1153, 1155 (S.D. Tex. 1994) (finding a sufficient amount in controversy after
considering the nature of the claims, the types of damages sought and the presumed net worth of the defendant in a
claim brought by the insureds against their insurance company for actual and punitive damages arising from a claim
they made for roof damages).


                                                         2
              Case 5:17-cv-00994-DAE Document 1 Filed 10/05/17 Page 4 of 29



damages to their property that Plaintiffs insured through Safeco. 3 Plaintiffs seek damages for

Safeco’s refusal to fully compensate Plaintiffs under the terms of their insurance contract. 4 The

Policy at issue is a Texas Homeowner’s Policy with coverage limits of $126,300 for the

dwelling, $12,630 or other structures and $50,830.00 for the contents.

         7.       In addition, Plaintiffs seek statutory penalties and treble damages under the Texas

Insurance Code. 5 Plaintiffs also seek attorney fees for bringing this suit. 6 Thus, given the Policy

involved in Plaintiffs’ claim, the nature of Plaintiffs’ claim, and the types of damages sought, it

is more likely than not that the amount in controversy exceeds the federal jurisdictional

minimum of $75,000.00.

         8.       Based on the Policy’s coverage limits, it would be legally possible for Plaintiffs to

obtain a recovery of at least $75,000.

                                   The Removal is Procedurally Correct

         9.       Safeco was first served with the Original Petition in District Court on September

9, 2017. Therefore, Safeco filed this Notice of Removal within the 30-day time period required

by 28 U.S.C. §1446(b).

         10.      Venue is proper in this district under 28 U.S.C. §1446(a) because this district and

division embrace the place in which the removed action has been pending and because a

substantial part of the events giving rise to Plaintiffs’ claims allegedly occurred in this district.

         11.      Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings

in the state court action are attached to this Notice as Exhibit A.




3
  See Exhibit A, Original Petition at page 2.
4
  See Id. at pages 3-4.
5
  See Exhibit A, Original Petition, pages 11-12.
6
  Id.


                                                    3
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       12.     Pursuant to 28 U.S.C. §1446(d), promptly after Safeco files this Notice, written

notice of the filing of this Notice of Removal will be given to Plaintiffs, the adverse party.

       13.     Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice will be

filed with the 45th District Court of Bexar County, Texas, promptly after Safeco files this Notice.

       WHEREFORE, Safeco Insurance Company of Indiana requests that this action be

removed from the 45th District Court of Bexar County, Texas to the United States District Court

for the Western District of Texas, San Antonio Division, and that this Court enter such further

orders as may be necessary and appropriate.

                                                      Respectfully submitted,


                                                      ____________________________________
                                                      David R. Stephens
                                                      Attorney in Charge
                                                      State Bar No. 19146100
                                                      Carrie D. Holloway
                                                      State Bar No. 24028270
                                                      LINDOW STEPHENS TREAT LLP
                                                      One Riverwalk Place
                                                      700 N. St. Mary’s St., Suite 1700
                                                      San Antonio, Texas 78205
                                                      Telephone: (210) 227-2200
                                                      Facsimile: (210) 227-4602
                                                      dstephens@lstlaw.com
                                                      cholloway@lstlaw.com




                                                  4
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing Notice of Removal was
filed electronically with the United States District Court for the Western District of Texas, San
Antonio Division, with notice of case activity to be generated and sent electronically by the
Clerk of the Court with ECF notice being sent and a copy mailed via certified mail on this 5th
day of October 2017, addressed to those who do not receive notice from the Clerk of the Court.


                                    Cristobal M. Galindo
                                CRISTOBAL M. GALINDO, P.C.
                              4151 Southwest Freeway, Suite 602
                                    Houston, Texas 77027




                                                       _______________________________
                                                       David R. Stephens
                                                       Carrie D. Holloway




                                               5
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     Exhibit A
Detail Information Lookup
                            Case 5:17-cv-00994-DAE Document 1 Filed 10/05/17 Page 8 of 29




             Records Search Home            Advanced Search             Bexar County



          Home
 /  Back to Search Results
 /  Details



       Case #2017CI14866
          History 4


       Name

       JOSE VEGA
       Date Filed                       Case Status                      Litigant Type                    Court

       08/11/2017                       PENDING                          PLAINTIFF                        045
       Docket Type

       DEBT/CONTRACT
       Business Name

       Style

       JOSE VEGA ET AL
       Style (2)

       vs SAFECO INSURANCE COMPANY OF INDIANA




       Case History                       Go To Top


                                          Currently viewing 1 through 4 of 4 records
         Sequence            Date Filed          Description


http://apps.bexar.org/...d-21f8-4f07-bfee-4e1c9210f1f5&st=l&l=&fn=&m=&cs=2017CI14866&ct=&p=2_2017CI14866++++DC0000100000[10/4/2017 2:44:17 PM]
Detail Information Lookup
                            Case 5:17-cv-00994-DAE Document 1 Filed 10/05/17 Page 9 of 29
         P00003              9/28/2017           ORIGINAL ANSWER OF
                                                 SAFECO INSURANCE COMPANY OF INDIANA AND
                                                 REQUESTS FOR DISCLOSURE

         S00001              8/21/2017           CITATION
                                                 SAFECO INSURANCE COMPANY OF INDIANA
                                                 ISSUED: 8/21/2017 RECEIVED: 9/8/2017
                                                 EXECUTED: 9/8/2017 RETURNED: 9/22/2017

         P00002              8/11/2017           SERVICE ASSIGNED TO CLERK 1

         P00001              8/11/2017           PET FOR HAIL DAMAGE RESIDENTIAL




                                      Bexar.org | Bexar County County Clerk | Bexar County District Clerk

                                             100 Dolorosa San Antonio, Texas 78205 | 210.335.2011




http://apps.bexar.org/...d-21f8-4f07-bfee-4e1c9210f1f5&st=l&l=&fn=&m=&cs=2017CI14866&ct=&p=2_2017CI14866++++DC0000100000[10/4/2017 2:44:17 PM]
                     Case 5:17-cv-00994-DAE Document 1 Filed 10/05/17 Page 10 of 29




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 17118621
Notice of Service of Process                                                                            Date Processed: 09/09/2017

Primary Contact:           Arlene Smith
                           Liberty Mutual Insurance Company
                           175 Berkeley Street
                           Boston, MA 02116

Entity:                                       Safeco Insurance Company Of Indiana
                                              Entity ID Number 2780991
Entity Served:                                Safeco Insurance Company of Indiana
Title of Action:                              Jose Vega vs. Safeco Insurance Company of Indiana
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Bexar County District Court, Texas
Case/Reference No:                            2017CI14866
Jurisdiction Served:                          Texas
Date Served on CSC:                           09/08/2017
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Cristobal M. Galindo
                                              713-228-3030

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
 00r. ZA(DGoZ.
            Case 5:17-cv-00994-DAE                                  Document 1 Filed 10/05/17 Page 11 of 29
        PRIVATE PROCESS                                                                           ®III RR               tIrIll. PE: I'' 01 II1
                                                                                                           2017CI14866 S00001
                                                         Case Number: 2017-CI-14866
        JOSE VEGA ET AL
        VS.                                                                                                       IN THE DISTRICT COURT
        SAFECO INSURANCE COMPANY OF INDIANA                                                                        45th JUDICIAL DISTRICT
        (Note:Attached Document May Contain Additional Litigants.)
                                                                                                                  BEXAR COUNTY, TEXAS
                                                                       CITATION
         "THE STATE OF TEXAS"
         Directed To: SAFECO INSURANCE COMPANY OF INDIANA BY SERVING ITS ATTORNEY
                       FOR SERVICE CORPORATION SERVICE COMPANY




        "You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk
         who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were
        served this CITATION and ORIGINAL PETITION , a default judgment may be taken against you." Saitl ORIGINAL
        PETITION was filed on the 11th day of August, 2017.



         ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 16TH DAY OF AUGUST A.D., 2017.

         CRISTOBAL M GALINDO                                                 ~~~°'Rc~            Donna Kay W-Kinney
         ATTORNEY FOR PLAINTIFF                                                                  Bexar County District Clerk
         4151 SOUTHWEST FWY 602                                            4 ~                   101 W. Nueva, Suite 217
         HOUSTON, TX 77027-7312                                                                  San Antonio, Texas 78205

                                                                                                 By: ChristopherYorrow , Deputy

JOSE VEGA ET AL                                                                                            Case Number: 2017-CI-14866
                                                                      Officer's Return                     Court: 45th Judicial District Court
VS
SAFECO INSURANCE COMPANY OF INDIANA

I received this CITATION on thes          day of                20L at~~o'clock &M. and:( ) executed it by delivering a copy of the CITATION with attached
ORIGINAL PETITION       on the date of delivery endorsed on it to                                                     , in person on the                day
of                  , 20             at                o'clock _M. at:                                              or ( ) not executed because




Fees:                Badge/PPS #:                   Date certification expires:

                                                                                                                                           County, Texas

                                                                                         By:

OR: VERIFICATION OF RETURN (If not served by a peace officer) SWORN TO THIS




                                                                                                       NOTARY PUBLIC, STATE OF TEXAS


OR: My name is                                                              my date of brth
                                                                                        i   is                            ——     -,— and_my addr ss-is
                                                                                   -- _ _-. --- _---_— _
                                                                               County.


I declare under penalty of perjury that the foregoing is true and correct. Executed in                                    County,    a          as, o
the            day of                      20


                                                                                         Declarant
                                                                                                                      ORIGINAL (DK002)
FILED                    Case   5:17-cv-00994-DAE Document 1 Filed 10/05/17 Page  12m/o
                                                                             cit pps of 29
                                                                                         sac1
8/11/2017 2:20 PM
Dqnna KayiMckinney
Bexar County District Clerk
Accepted By: Krystal Gonzalez


                                               CAUSE NO.       2017C114866

                 JOSE VEGA AND OCIEL VEGA,                                    IN THE DISTRICT COURT OF
                      Plaintiff,


                 .
                 V                                                                 BEXAR COUNTY, TEXAS


                 SAFECO INSURANCE COMPANY
                 OF INDIANA
                      Defendant.                                               45       JUDICIAL DISTRICT




                                          PLAINTIFFS' ORIGINAL PETITION


              TO THE HONORABLE JUDGE OF SAID COURT:

                      COMES NOW, Jose Vega and Ociel Vega ("Plaintiffs"), and files this Plaintiffs' Original

              Petition, complaining of Safeco Insurance Company of Indiana ("Defendant"), and for cause of

              action, Plaintiffs would respectfully show this Honorable Court the following:

                                                 DISCOVERY CONTROL PLAN

            1.        Plaintiffs intend to conduct discovery under Level 1 of Texas Rule of Civil Procedure 190.2

                      and affirmatively pleas that this suit is governed by the expedited-actions process in Texas

                      Rules of Civil Procedure 169.

                                                          PARTIES

            2.        Plaintiffs Jose Vega and Ociel Vega are individuals residing in Bexar County.

            3.        Defendant Safeco Insurance Company of Indiana (hereinafter referred to as Safeco is an

                      insurance company engaging in the business of insurance in the State of Texas. This

                      defendant may be served with process by certified mail, return receipt requested, by serving


                                                                                                           Page I
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             its Attorney for Service, Corporation Service Company at 211 E. 7th Ste 620 Austin, Texas

             78701 - 3218.

                                              JURISDICTION

       4.    The Court has jurisdiction over this cause of action because the amount in controversy is

             within the jurisdictional limits of the Court. Plaintiffs seek only monetary relief of

             $100,000.00 or less, including damages of any kind, penalties, court costs, expenses,

             prejudgment interest and attorney fees.

        5.   The Court has jurisdiction over Defendant Safeco because this defendant is a domestic

             insurance company that engages in the business of insurance in the State of Texas, and

             Plaintiffs' causes of action arise out of this defendant's business activities in the State of

             Texas.

                                                   VENUE
        6.   Venue is proper in Bexar County, Texas, because the insured property is situated in Bexar

             County, Texas. TEx. C[v. P1tAC. & REM. CoDE § 15.032.

                                                   FACTS
        7.   Plaintiffs are the owners of a Texas Homeowners' Insurance Policy (hereinafter referred

             to as "the Policy"), which was issued by Safeco .

        8.   Plaintiffs own the insured property, which is specifically located at 2409 Roseville St.

             San Antonio, TX 78219, in Bexar County (hereinafter referred to as "the Property").

        9.   Safeco sold the Policy insuring the Property to Plaintiffs.

       10.   On or about April 25, 2016, a hail storm and/or windstorm struck Bexar County, Texas,

             causing severe damage to homes and businesses throughout the region, including

             Plaintiffs' residence. Plaintiffs' roof sustained extensive hail and/or wind damage during


~~ _                                                                                                Page 2
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      the storm. Plaintiffs' property also sustained substantial structural and exterior damage

      during the storm, including but not limited to, the siding, gutters, downspouts, soffit, fascia

      and trim, as well as extensive damage to the windows and window screens. After the storm,

      Plaintiffs filed a claim with their insurance company, Safeco , for the damage to their home

      caused by the hail storm and/or windstorm.

11.   Plaintiffs submitted a claim to Safecoagainst the Policy for Roof Damage, Structural

      Damage, Water Damage, and Wind Damage sustained as a result of the hail storm and/or

      windstorm.

12.   Plaintiffs asked that Safeco cover the cost of repairs to the Property pursuant to the Policy.

13.   Defendant Safeco assigned Greg Kiefer as the individual adjuster on the claim. The

      adjuster assigned to Plaintiffs' claim were improperly trained and failed to perform a

      thorough investigation of Plaintiffs' claim. This is evident in his report which failed to

      include all of the damages. Kiefer both underestimated and undervalued the cost of repairs

      to the damaged items that he did include in the estimate. Ultimately, Kiefer`s estimate did

      not allow adequate funds to cover the cost of repairs to all the damages sustained, which

      failed to include all of Plaintiffs' damages noted upon inspection. Kiefer`s inadequate

      investigation of the claim was relied upon by the other Defendants in this action and

      resulted in Plaintiffs' claim being undervalued and underpaid.

14.   Together, Defendant Safeco, and Kiefer set about to deny and/or underpay on properly

      covered damages. As a result of these defendants' unreasonable investigation of the claim,

      including not providing full coverage for the damages sustained by Plaintiffs, as well as

      under-scoping the damages during their investigation and thus denying adequate and

      sufficient payment to Plaintiffs to repair their home, Plaintiffs' claim was improperly


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      adjusted. The mishandling of Plaintiffs' claim has also caused a delay in their ability to

      fully repair their home, which has resulted in additional damages. To this date, Plaintiffs

      has yet to receive the full payment to which they are entitled under the Policy.

15.   As detailed in the paragraphs below, Safeco wrongfully denied Plaintiffs' claim for repairs

      of the Property, even though the Policy provided coverage for losses such as those suffered

      by Plaintiffs. Furthermore, Safeco underpaid some of Plaintiffs' claim by not providing

      full coverage for the damages sustained by Plaintiffs, as well as under-scoping the.damages

      during its investigation.

16.   To date, Safecocontinues to delay in the payment for the damages to the Property. As such,

      Plaintiffs have not been paid in full for the damages to their Property.

17.   Defendant Safecofailed to perform its contractual duties to adequately compensate .

      Plaintiffs under the tenns of the Policy. Specifically, it refused to pay the full proceeds of

      the Policy, although due demand was made for proceeds to be paid in an amount sufficient

      to cover the damaged property, and all conditions precedent to recovery upon the Policy

      had been carried out and accomplished by Plaintiffs. Safeco`s conduct constitutes a breach

      of the insurance contract between Safeco and Plaintiffs.

18.   Defendant Safeco misrepresented to Plaintiffs that the damage to the Property was not

      covered under the Policy, even though the damage was caused by a covered occurrence.

      Defendant Safeco's conduct constitutes a violation of the Texas Insurance Code, Unfair

      Settlement Practices. TEx. INs. CoDE § 541.060(a)(1):

19.   Defendant Safeco failed to make an attempt to settle Plaintiffs' claim in a fair manner,

      although they were aware of their liability to Plaintiffs under the Policy. Defendant




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          Safeco's conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

          Practices. TEx. INS. CODE §541.060(a)(2)(A).

    20.   Defendants Safeco failed to explain to Plaintiffs the reasons for their offer of an inadequate

          settlement.    Specifically, Defendant Safeco failed to offer Plaintiffs adequate

          compensation, without any explanation why full payment was not being made.

          Furthermore, Defendants did not communicate that any future settlements or payments

          would be forthcoming to pay for the entire losses covered under the Policy, nor did they

          provide any explanation for the failure to adequately settle Plaintiffs' claim. Defendant

          Safeco's conduct is a violation of the Texas Insurance Code, Unfair Settlement Practices.

          TEx. ItvS. CODE §541.060(a)(3).

    21.   Defendant Safeco failed to affirm or deny coverage of Plaintiffs' claim within a reasonable

          time. Specifically, Plaintiffs did not receive timely indication of acceptance or rejection,

          regarding the full and entire claim, in writing from Defendant Safeco. Defendant Safeco's

          conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices.

          TEx. ItvS. CODE §541.060(a)(4).

    22.   Defendants Safeco refused to fully compensate Plaintiffs, under the terms of the Policy,

          even though Defendant Safeco failed to conduct a reasonable investigation. Specifically,

          Defendant Safeco performed an outcome-oriented investigation of Plaintiffs' claim, which

          resulted in a biased, unfair, and inequitable evaluation of Plaintiffs' losses on the Property.

          Defendant Safeco's conduct constitutes a violation of the Texas Insurance Code, Unfair

          Settlement Practices. TEx. INS. CODE §541.060(a)(7).

    23.   Defendant Safeco failed to meet its obligations under the Texas Insurance Code regarding

~         timely acicnowledging Plaintiffs' claim, beginning an investigation of Plaintiffs' claim, and


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      requesting all information reasonably necessary to investigate Plaintiffs' claim, within the

      statutorily mandated time of receiving notice of Plaintiffs' claim. Safeco`s conduct

      constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEx. INs.

      CoDE §542.055.

24.   Defendant Safeco failed to accept or deny Plaintiffs' full and entire claim within the

      statutorily mandated time of receiving all necessary information. Safeco`s conduct

      constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEx. INS.

      CODE §542.056.

25.   Defendant Safeco failed to meet its obligations under the Texas Insurarnce Code regarding

      payment of claim without delay. Specifically, it has delayed full payment of Plaintiffs'

      claim longer than allowed and, to date, Plaintiffs have not received full payment for their

      claim. Safeco`s conduct constitutes a violation of the Texas Insurance Code, Prompt

      Payment of Claims. TEx. ItvS. CoDE §542.058.

26.   From and after the time Plaintiffs' claim was presented to Defendant Safeco , the liability

      of Safeco to pay the full claim in accordance with the terms of the Policy was reasonably

      clear. However, Safeco has refused to pay Plaintiffs in full, despite there being no basis

      whatsoever on which a reasonable insurance company would have relied to deny the full

      payment. Safeco`s conduct constitutes a breach of the common law duty of good faith and

      fair dealing.

27.   Defendant Safeco knowingly or recklessly made false representations, as described above,

      as to material facts and/or knowingly concealed all or part of material information from

      Plaintiffs.




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    28.   As a result of Defendants Safeco's wrongful acts and omissions, Plaintiff was forced to

          retain the professional services of the attorneys and law firm who are representing him/her

          with respect to these causes of action.

    29.   Plaintiffs' experience is not an isolated case. The acts and omissions Safeco committed in

          this case, or similar acts and omissions, occur with such frequency that they constitute a

          general business practice of Safeco with regard to handling these types of claims.

          Safeco`sentire process is unfairly designed to reach favorable outcomes for the company

          at the expense of the policyholders.

                            a.     CAUSES OF ACTION AGAINST SAFECO .




    30.   Defendant Safeco is liable to Plaintiffs for intentional breach of contract, as well as

          intentional violations of the Texas Insurance Code, and intentional breach of the common.

          law duty of good faith and fair dealing.

-                                       BREACH OF CONTRACT

    31.   Defendant Safeco`s conduct constitutes a breach of the insurance contract made between

          Safeco and Plaintiffs.

    32.   Defendant Safeco`s failure and/or refusal, as described above, to pay the adequate

          compensation as it is obligated to do under the terms of the Policy in question, and under

          the laws of the State of Texas, constitutes a breach of Safeco`s insurance contract with

          Plaintiff.




                                                                                              Page 7
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                     NONCOMPLIANCE WITH TEXAS INSURANCE CODE:

                               j1NFAIR SETTLEMENT PRACTICES

33.   Defendant Safeco`s conduct constitutes multiple violations of the Texas Insurance Code,

      Unfair Settlement Practices. TEx. INs. CODE §541.060(a). All violations under this article

      are made actionable by TEx. INS. CoDE §541.151.

34.   Defendant Safeco`s unfair settlement practice, as described above, of misrepresenting to

      Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of

      competition and an unfair and deceptive act or practice in the business of insurance. TEx.

      INS. CODE §541.060(a)(1).

35.   Defendant Safeco`s unfair settlement practice, as described above, of failing to attempt in

      good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

      Safeco`s liability under the Policy was reasonably clear, constitutes an unfair method of

      competition and an unfair and deceptive act or practice in the business of insurance. TEx.

      INS. CoDE §541.060(a)(2)(A).

36.   Defendant Safeco`s unfair settlement practice, as described above, of failing to promptly

      provide Plaintiffs with a reasonable explanation of the basis in the Policy, in relation to the

      facts or applicable law, for its offer of a compromise settlement of the claim, constitutes an

      unfair method of competition and an unfair and deceptive act or practice in the business of

      insurance. TEx. ItvS. CoDE §541.060(a)(3).

37.   Defendant Safeco`s unfair settlement practice, as described above, of failing within a

      reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a

      reservation of rights to Plaintiffs, constitutes an unfair method of competition and an unfair

      and deceptive act or practice.in_the..business of insurance. TEx. INS. CODE §541:060(a)(4).


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38.   Defendant Safeco`s unfair settlement practice, as described above, of refusing to pay

      Plaintiffs' claim without conducting a reasonable investigation, constitutes an unfair

      method of competition and an unfair and deceptive act or practice in the business of

      insurance. TEx. INS. CoDE §541.060(a)(7).

                      NONCOMPLIANCE WITH TEXAS INSURANCE CODE:

                              THE PROMPT PAYMENT OF CLAIMS

39.   Defendant Safeco`s conduct constitutes multiple violations of the Texas Insurance Code,

      Prompt Payment of Claims. All violations made under this article are made actionable by

      TEx. INs. CoDE §542.060.

40.   Defendant Safeco`s failure to acknowledge receipt of Plaintiffs' claim, commence

      investigation of the claim, and request from Plaintiff all items, statements, and forms that

      it reasonably believed would be required within the applicable time constraints, as

      described above, constitutes a non-prompt payment of claims and a violation of TEx. INS.

      CODE §542.055.

41.   Defendant Safeco`s failure to notify Plaintiff in writing of its acceptance or rejection of the

      claim within the applicable time constraints, constitutes a non-prompt payment of the

      claim. TEx. INS. CoDE §542.056.

42.   Defendant Safeco`s delay of the payment of Plaintiffs' claim following its receipt of all

      items, statements, and forms reasonably requested and required, longer than the amount of

      time provided for, as described above, constitutes a non-prompt pa.yment of the claim.

      TEx. INs. CoDE §542.058.




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                 BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

43.   Defendant Safeco`s conduct constitutes a breach of the common law duty of good faith and

      fair dealing owed to insureds in insurance contracts.

44.   Defendant Safeco`s failure, as described above, to adequately and reasonably investigate

      and evaluate Plaintiffs' claim, although, at that time, Safeco knew or should have known

      by the exercise of reasonable diligence that its liability was reasonably clear, constitutes a

      breach of the duty of good faith and fair dealing.

                                                FRAIID

45.   Defendant Safeco is liable to Plaintiffs for common law fraud.

46.   Each and every one of the representations, as described above, concerned material facts for

      the reason that absent such representations, Plaintiffs would not have acted as they did,

      and which Defendant Safeco knew were false or made recklessly without any knowledge

      of their truth as a positive assertion.

47.   The statements were made with the intention that they should be acted upon by Plaintiffs,

      who in turn acted in reliance upon the statements, thereby causing Plaintiffs to suffer injury

      and constituting common law fraud.

                                CONSPIRACY TO COMMIT FRAUD

48.   Defendants Safeco is liable to Plaintiffs for conspiracy to commit fraud. Defendant Safeco

      and Kiefer were members of a combination of two or more persons whose object was to

      accomplish an unlawful purpose or a lawful purpose by unlawful means. In reaching a

      meeting of the minds regarding the course of action to be taken against Plaintiffs,

      Defendant Safeco committed an unlawful, overt act to further the object or course of action.

      Plaintiffs suffered injury as a proximate result.


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                                        KNOWLEDGE

49.   Each of the acts described above, together and singularly, was done "knowingly," as that

      term is used in the Texas Insurance Code, and was a producing cause of Plaintiffs' damages

      described herein.

                                           DAMAGES                                       `

50.   Plaintiffs would show that all of the aforementioned acts, taken together or singularly,

      constitute the producing causes of the damages sustained by Plaintiffs.

51.   As previously mentioned, the damages caused by the hail storm and/or windstorm have not

      been properly addressed or repaired in the months since the storm, causing further damages

      to the Property, and causing undue hardship and burden to Plaintiffs. These damages are

      a direct result of Defendant Safeco`s mishandling of Plaintiffs' claim in violation of the

      laws set forth above.

52.   For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain, which is

      the amount of their claim, together with attorney's fees.

53.   For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiffs

      are entitled to actual damages, which include the loss of the benefits that should have been

      paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing

      conduct of the acts described above, Plaintiffs ask for three times their actual damages.

      TEX. INS. CODE §541.152.

54.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiffs are

      entitled to the amount of their claim, as well as eighteen (18) percent interest per, annum

      on the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE

      §542.060.            -                          _                                       -- -


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55.           For breach of the common law duty of good faith and fair dealing, Plaintiffs are entitled to

             compensatory damages, including all forms of loss resulting from the insurer's breach of

             duty, such as additional costs, economic hardship, losses due to nonpayment of the amount

             the insurer owed, exemplary damages, and damages for emotional distress.

56.          For fraud, Plaintiffs are entitled to recover actual damages and exemplary damages for

             knowingly fraudulent and malicious representations, along with attorney's fees, interest,

             and court costs.

57.           For the prosecution and collection of this claim, Plaintiffs have been compelled to engage

             the services of the below signed attorneys. Therefore, Plaintiffs are entitled to recover a

             sum for the reasonable and r►ecessary services of Plaintiffs' attorneys in the preparation

             and trial of this action, including any appeals to the Court of Appeals and/or the Supreme

             Court of Texas.

                                                    PRAYER

              WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon trial hereof, said

      Plaintiffs have and recover such sums as would reasonably and justly compensate them in

  accordance with the rules of law and procedure, as to actual damages, treble damages under the

  Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

      Plaintiffs request the award of attorney's fees for the trial and any appeal of this case, for all costs

      of Court on their behalf expended, for prejudgment and post judgment interest as allowed by law,

  and for any other and further relief, either at law or in equity, to which they may show themselves

  justly entitled.

                                                     Respectfully Submitted,

                                                   _ Cristobal M Galindo,_P_.0                                   -


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                            Cristobal M. Galindo
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FILED
9/28/2017 10:36 AM        Case   5:17-cv-00994-DAE Document 1 Filed 10/05/17 Page 25 of 29
Donna Kay McKinney
Bexar County District Clerk
Accepted By: Consuelo Gomez

                                                 CAUSE NO. 2017CI14866

             JOSE VEGA AND OCIEL VEGA,                         §                    IN THE DISTRICT COURT
                  PLAINTIFFS,                                  §
                                                               §
             VS.                                               §                  BEXAR COUNTY, TEXAS
                                                               §
                                                               §
             SAFECO INSURANCE COMPANY                          §
             OF INDIANA,                                       §
                  DEFENDANT.                                   §                  45TH JUDICIAL DISTRICT


                   DEFENDANT SAFECO INSURANCE COMPANY OF INDIANA’S ORIGINAL
                              ANSWER AND REQUEST FOR DISCLOSURE


                      NOW COMES Defendant Safeco Insurance Company of Indiana and files its Original

             Answer, and would respectfully show as follows:

                                                              I.

                      Defendant generally denies each and every allegation contained in Plaintiffs’ Original

             Petition pursuant to Texas Rule of Civil Procedure 92, and demands strict proof thereof by a

             preponderance of the credible evidence.

                                                              II.

                      Defendant reserves the right to invoke the policy’s appraisal provision to resolve issues

             regarding the amount of loss.

                                                             III.

                      Pursuant to Texas Rules of Civil Procedure, Plaintiffs are requested to disclose and serve,

             within thirty (30) days of service of the Request, the information or material described in Rule

             194.2(a) - (l). Plaintiffs shall supplement all disclosures pursuant to TEX. R. CIV. P. 193.5.
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                                               IV.

        WHEREFORE, PREMISES CONSIDERED, Defendant Safeco Insurance Company of

Indiana respectfully prays for a judgment that Plaintiffs take nothing, that Defendant recover all

its costs, and that Defendant be granted all other relief, at law and in equity, to which it may be

justly entitled.


                                                     Respectfully submitted,

                                                     LINDOW ▪ STEPHENS ▪ TREAT LLP


                                                     By:
                                                            David R. Stephens
                                                            State Bar No. 19146100
                                                            Carrie D. Holloway
                                                            State Bar No. 24028270
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                                                     Counsel for Defendant Safeco Insurance
                                                     Company of Indiana




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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Defendant Safeco Insurance
Company of Indiana’s Original Answer and Request for Disclosures was served by facsimile
and/or electronic service on the 28th day of September 2017, upon the following counsel of
record:

                                    Cristobal M. Galindo
                                CRISTOBAL M. GALINDO, P.C.
                              4151 Southwest Freeway, Suite 602
                                    Houston, Texas 77027



                                                           _____________________________
                                                                 David R. Stephens
                                                                 Carrie D. Holloway




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      Exhibit B
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                    IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

JOSE VEGA AND OCIEL VEGA,                §
     Plaintiffs                          §
                                         §
                                         §
v.                                       §      Civil Action No.
                                         §
SAFECO INSURANCE COMPANY                 §
OF INDIANA     ,                         §
     Defendant                           §


                           LIST OF ALL COUNSEL OF RECORD


Party                                        Attorney(s)
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Defendant,
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